
The Supreme Court affirmed the judgment of the Common. Pleas on February 9th, 1885,in the following opinion:
Per Curiam.
The exemption of property from execution, depends on the election of the debtor to claim it. He may undoubtedly waive the right to make the claim of exemption. The lease on which this judgment was recovered expressly waived “all right to the benefit of any laws now made or hereafter to be made exempting personal property from levy, and sale for arrears of rent.” A copy of the lease with a statement of the amount of rent due and claimed, was filed, and judgment recovered therefor. Thus the record showed the waiver of the exemption. It was not necessary that it be copied on the docket. It was not the less a part of the record; Hageman vs. Salisberry, 24 P. F. S., 280; Numbers vs. Shelly, 28 P. F. S., 426. When the H. fa. issued the Prothonotary endorsed thereon “exemption waived.” This in practice is the usual notice given to the Sheriff. He is bound to take notice thereof and to regulate his action accordingly. He cannot, without substantial reasons, which are not shown in this case, disregard that notice.
Judgment affirmed.
